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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )
                                      )     CRIMINAL ACTION NO.
    v.                                )        2:12cr59-MHT
                                      )            (WO)
ANTOINETTE DJONRET                    )
ANGELIQUE DJONRET                     )
TABITHA STINSON                       )
CHANTRESA HAYES                       )
MELBA WILSON and                      )
COREY MEANS                           )

                        OPINION AND ORDER

    This cause is before the court on an unopposed joint

motion to continue by defendants Antoinette Djonret,

Angelique    Djonret,     Tabitha    Stinson,     Chantresa      Hayes,

Melba Wilson, and Corey Means, filed on August 21, 2012.

The trial is currently set for September 17, 2012.                Based

on the representations made on the record on August 28,

2012, and for the reasons set forth below, the court

finds that jury selection and trial should be continued

to January 14, 2013.

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.
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Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.         The Act provides in part:

           "In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information or
           indictment with the commission of an
           offense shall commence within seventy
           days from the filing date (and making
           public)    of   the    information    or
           indictment, or from the date the
           defendant has appeared before a judicial
           officer of the court in which such
           charge is pending, whichever date last
           occurs."

Id. § 3161(c)(1).            The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”      Id.    §    3161(h)(7)(A).        In    granting     such     a

continuance, the court may consider, among other factors,

whether    the     failure    to   grant    the     continuance    would

"result      in      a     miscarriage        of      justice,"          id.

§   3161(h)(7)(B)(i),        or    "would   deny     counsel    for      the

defendant     or    the    attorney     for    the    Government         the

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reasonable    time    necessary       for   effective     preparation,

taking into account the exercise of due diligence."                     Id.

§ 3161(h)(7)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interests of the public and the defendants in a speedy

trial.   On   August     9,    2012,    a   48    count    superseding

indictment    was    issued     against      each    defendant.         The

defendants    represent       that,    at   the   arraignment,      each

defendant, with the exception of Antoinette Djonret, who

was named in the original indictment, was given two

electronic discs that included over 9,000 documents in

discovery. The defendants have further represented that

the government does not object to the continuance.



                                 ***

    Accordingly, it is ORDERED that:

    (1) Defendants Antoinette Djonret, Angelique Djonret,

Tabitha Stinson, Chantresa Hayes, Melba Wilson, and Corey



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Means’ motion for continuance (Doc. No. 92) is granted;

and

       (2)   The    jury    selection     and   trial,     now   set       for

September 17, 2012, are reset for January 14, 2013, at

10:00 a.m., in Courtroom 2FMJ of the Frank M. Johnson Jr.

United States Courthouse Complex, One Church Street,

Montgomery, Alabama.

       DONE, this the 28th day of August, 2012.

                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE
